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EXH|B|T 2

aemn¢cany signed by names Jamva (201-416-051513

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cASEY BRINGEDAHL
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Fol' the Defcndanl$ MR. CURT A. BENSON (P3889l)
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Gnmd Ropids. Mic.h‘:g¢n
Thunday. Moy 10. 1018 - 1:51 p.cn.
CASBY BRINGEDAHL

RAV|NG BBBN CALLED BY T|{B PLAINTIFFS AND SWORN:

MR. BOS”|'IC: Flcuse stale your name fur the
mcrd.

THE WITNBSS: Cascy Bringedohi.

MR. BOSTlC: Mr. Brinsodahl, my nunc is Nick
Bosxic and l represent buck A.ntol and adm in Anw\
versus bent and othcu. Wcltem Dism'ct of Michigan Filn
I:l'I-cv~6|‘.\. Today islhe limeonddale m focymn'
deposi\i¢m. which will be used for oil purposes as showed
by the Miehigan Rules - l‘m sony. Fed¢ral links of Civd
chcdm and the chcn\l Cuun Ru!c¢.

Cotmscl, my objection mo notice?

MR. BENSON: No.

MR. SADOWSKI: No.

MR. BOST|C: Appmmces for the mori pleus¢.

MR. BENSON: Cun Bcnson here wilh Se¢geenl
Bring¢dahl.

M& WANALUNAS: Brsd Wuu!mm representing
Sergeum Bringedahl.

MR SADOWSK|: Mam Sadowdci on behalf ol`
befcndsnl Tcuckl.

MR. MYSRS: Pau'icl: Myen on behull`of Defmdam

 

1 (Pages-l to 4)

éo:qCOunty Court ReporterSessofas¢-eeae-adas-ss1o-soez4seha1s1

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gm page 1 3 Page 1 5

` 1 a buy or something like that? You - you log almost every 1 Q m 5 marked wm
2 movemem' com? 2 A Corrcct.

3 A Y“' 3 Q Did this person that you're observing appear m be g minot
4 Q But when you go to do surveillance on a static location 4 or m adam
5 jusl walling r°' a mir d° Y°u Wpimlly 110 the same 5 A He was on adult.
5 type of surveillance notcs? 6 Q You could tell that l'rorn your surveillance position?
" A N°t s¢uue|ly» fn this case any - any moment nw r 7 A v“h_
B saw was documented in the report. l didn‘l see the need B Q Were you - had you been informed that there was a minor
9 at that point to prepare any surveillance notes. 9 inside the horne asleep?
10 Q But - but you didn't document the time? 1 o A 1 had ,,¢,,_
11 A l don't know that. lt might be in my report il` l can 1 1 Q Did you have any information given to you about who might
12 reference that. 12 or might not be there'l
13 Q bet‘s check and see. 13 A l had none.
14 A Okoy. 50 according to my reporL l began surveilling the 14 Q So your instructions were to go watch the howe pending a
15 residence at approximately l3:50 hours. At approximately 15 wonont?
16 ld:l$ hours. l observed the subject walk out ol'the house 16 A Correet.
17 Q And then what did you do alter you made that observation? 17 Q When Trooper 'l'rucks pulled up, what did you observe'l
18 A l contacted Detwtivo Sergeant Straus and advised her that 18 A l pulled up right behind him. We made contact with the
19 we had someone that wes in and out ol' the residence 19 subjoct, identiticd him us Miehaet Tozcr. l then took a
20 Q So did you say you detected movement ct 14:157 20 statement in regards to why he was - he was attire horne
21 A Corrcct 21 Q wherein ne retryou'r
22 Q And then after talking to her, what hoppened? 22 A He told me he was an electrician running a 220 line back
23 A lt was requested that l go make coolch with that subjcct, 23 to the pole barn.
24 identify him, find out what he's doing at the residence 24 Q Did you ask him about anyone else being in the home?
25 Obvious|y, at that point l was familiar with Ms. Conltlin 2 5 A l did and he stated that he wasn‘t sure.

€M\ Page 14 Page 16
1 end Mr. Antol, knew who they wcre. lt wasn‘t either one 1 Q Did he take you around and show you the door that he had
2 ofthern. so l requested that Trooper Trueks go and make 2 been using to get into the building or did you determine
3 contact with the subject. 3 whether he hud been in the dwelling itselt'i
rt Q Wbcnbecameoutofthepotebam,wheredidhego? 4 A Head.mittodthathehudbcen. Hehudaccesscdthroughthe
5 A Al - ar that point, we hadjust contacted him. He 5 back door into the basement.

6 just -» he mode - by the time it took melo - to. you 6 Q Did he have access into the living portion?

7 ltnow, make the phone cell and discuss what we were going 7 A l - l don't know.

8 to do, he had - he had kind of walked from the hmxse to 8 Q Alier he told you that. what did you do?

9 the pole barn. you lmow, and to his car. l-le was just kind 9 A l contacted Dctective Scrgcant Straus and advised her of

10 of- you know, the guy ended up being an clcctrician. l-le 10 my findings

11 was there probably getting tools out ol' his cer, so on end 11 Q And then what happencd?

12 so forth. 12 A Slrc requested that omcers enter the home to secure the

13 Q Were you sbic to see exactly what he was doing when he was 13 residence prior to the search tvar'ranl.

14 at his ear? 14 Q Did Mr. Tozz:r indicate to you that he hud spoken to

15 A l - l couldn‘t, no. 15 anybody inside the house?

16 Q Wes his car the car that you hud mentioned cerlier? 1 6 A He - no. l asked several times il' he thought anybody was

17 A ch. 17 inside ` l-le says, “l’m not sure." He says, "l just went

18 Q Okay. From yomobeervations ot`him before Trooper Tnn:lrs 18 into the bosement.'

19 errivas, did you have any indication that he's aware ol' 19 Q Where is the marked patrol car parked al this point'l

20 your preeence? 20 A in thc drivewoy.

2 1 lt No. 21 Q So what did you do after Sergcont Strous mode her requch

22 Q l-te did not appear to be aware ofyour presence? 22 A l stayed outside with Mr. Tozer while Detcctivo Kutches

23 A No. 2 3 and Trooper Trucks went inside and secured the residence

24 Q so does Trooper 'l'rueks then pull up at your request? 24 Q Did you - were you able to see them at all while they
C,M\ 25 A Yes. 25 were inside the residence?

   

4 (Pages 13 to 16)

Eteeoonreany signed ny course samoa rzoturs-s%!ei'ozrcount y COU r t RePO r t e r S eeocreer-eeas-¢ross-osr o-sooz4sea¢r1s1
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